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                                                                                                                                                                                                            THE UNITED STATES DISTRICT COURT
                                                                                                                                                                                                           FOR THE WESTERN DISTRICT OF TEXAS
                                                                                                                                                                                                                     AUSTIN DIVISION

JONATHAN LANGLEY                §
     Plaintiff                  §
                                §
v.                              §                                                                                                                                                                                                                                              CASE NO. 1:18-CV-00443-LY
                                §
INTERNATIONAL BUSINESS MACHINES §
CORPORATION                     §
     Defendant                  §



                                                                                                                                                                     PLAINTIFF’S RESPONSE OPPOSING DEFENDANT’S
                                                                                                                                                                          MOTION FOR SUMMARY JUDGMENT


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

                                                            NOW COMES Plaintiff Jonathan Langley, and files this, his Response in Opposition to

Defendant International Business Machines Corporation’s (hereinafter “IBM”) Motion for Summary

Judgment,1 (hereinafter “Defendant’s Motion”) and would respectfully show as follows:

                                                                                                                                                                                                                                                         Summary of IBM’s Evidence

                              To support its summary judgment, IBM elects not to point this Court toward relevant demographic

data or other exculpatory evidence that might explain away the patent ageism contained within IBM

planning documents. Instead, IBM has chosen to deflect this Court away from the evidence—what little it

decided to produce—and instead rely on nine self-serving affidavits with scant supporting evidence to

claim there is “no nexus” between Langley and the ageist internal documents. Regardless, these affidavits

are entirely unresponsive to Plaintiff’s case in chief, and cannot mask the stench of IBM’s discriminatory

scheme.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
1         Def Mot. for Summary Judgment, Dkt. #93.


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                                                                                                                                                                                                                                I.                       PROCEDURAL HISTORY AND BACKGROUND

                                                            A. Langley’s Termination.

                                                            Jonathan Langley (“Langley”) was 59 years old and had been employed by IBM for 24 years

when he was laid off in 2017.2 Prior to his termination, he held the role of Sales Lead for the PureApp

team.3 His direct manager was Kim Overbay (“Overbay”) and her direct manager was Andrew Brown

(“Brown”).4

                                                            On December 6, 2016, Brown informed Langley that he was going to lose his job via a layoff, or

as IBM calls it, a “resource action.”5 This conversation is corroborated by emails from Brown and

Langley.6 After learning he would be laid off, Langley sought to obtain a new position within IBM as he

had done many times in the past when technology shifted or changed.7 He applied for positions through

both formal and informal means.8 However, this time his search ran aground when he was repeatedly

advised there were mandates for external hiring, HR impediments, and the requirement of high level

executive approval.9

                                                            On or about June 30, 2017, Langley’s employment from IBM was permanently terminated.10

After his termination, Langley received a letter from IBM congratulating him on his “retirement.”11 A call

to IBM revealed the internal classification for Langley was “resigned/retired,” even though he had been

involuntarily terminated.12 Subsequently obtained high level planning documents, known as Fall Plans,

revealed a high level scheme to lay off older workers while simultaneously infusing the company with




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
2 Ex. A, Jonathan Langley Affidavit
3 Id.
4 Id.
5 Ex. 1 at IBML_826.
6 Id.
7 Ex. A, Jonathan Langley Affidavit see generally Ex. 1, Evidence Langley Qualified for Other Jobs
8 See generally Ex. 1, Evidence Langley Qualified for Other Jobs
9 Ex. 1, Email correspondence regarding Langley’s Termination at IBML_1505, 1621A, 3308
10 Ex. A, Jonathan Langley Affidavit at __.
11 Ex. 2
12 Ex. 3 at Langley-IBM 644




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millennials, early professional hires (“EPH”), or early professionals (“EP”)—to remix the seniority of the

company.13

                                                            These documents reveal a discriminatory motive by IBM to terminate Langley and his similarly

situated peers. While IBM has been less than forthcoming with its discovery and has utilized numerous

tactics to prevent Langley from taking depositions and obtaining documents necessary to prove his case,

Langley has managed to acquire enough evidence to successfully defend IBM’s summary judgment and

get to a jury on the issue of fact.14

                                                            B. IBM’s Scheme – Broken Down to its Common Denominator

                                                            The stripped-down essence of IBM’s fire-and-hire discriminatory scheme to make its workforce

significantly younger is simple: (1) lay off a large portion of its current workforce, focusing on targeting

older persons; and (2) simultaneously hire thousands of new employees, focusing on targeting younger

persons. The actual mechanisms of the scheme, however, are much more complex, have been actively

concealed by IBM, and require some background context to understand.

                                                            IBM has refused in discovery to provide before-and-after age demographic information from

even just the Hybrid Cloud group that Plaintiff could use to offer as proof that IBM did achieve its goal of

becoming younger. Nevertheless, three pieces of birds-eye evidence do exist that corroborates the

allegation that IBM has engaged in the fire-and-hire scheme alleged. (1) IBM has laid off 50,000 to

100,000 employees in just the last several years, which is proof of IBM’s efforts to cast off a large portion

of its workforce very recently.15 (2) Approximately 50% of IBM’s current workforce has been hired just

in the last five years, which is proof that IBM has engaged in aggressive hiring during that same time

period.16 (3) Over 50% of IBM’s current workforce is currently comprised of “Millennials” according to

its own CEO, which allows the an easily-drawn inference that the majority of the persons recently hired




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
13 Ex. 4
14 See e.g. numerous discovery rulings by Judge Austin (Dkt. Nos. 21, 36, 52, 86)
15 Ex. 5, Alan Wild Dep. Tr. at 249:9-250:8.
16 Ex. 6




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who make up 50% of IBM workforce are younger than their ADEA counterparts that were cast off.17

Indeed, there is good reason that the EEOC is still actively investigating IBM for this very scheme.18

                                                            a. IBM’s driving motive: Valuing Young Employees More than Old Employees

                                                            The century-old IBM is obsessed with getting younger, and that obsession is based in a belief in

the broad-brush stereotype that one class of persons—young people—is more valuable to IBM than

another class of persons—old people. If an IBM executive were to publicly suggest that white people

were inherently harder workers than persons of other races—and that IBM viewed white people as more

valuable employees as a result—the national outcry of racial discrimination would be deafening. For

some reason, ascribing more value to younger persons relative to older persons—a legally protected class

just like race—fails to register the same degree of public outrage, which is perhaps why IBM has been so

bold in making the following discriminatory statements and publications about age:

                                                            In a 2015 publication, IBM compared employees in the “Millennial” generation with those from

Gen X and Baby Boomers.19 Therein IBM referred to older workers as “gray hairs” and “old heads,” and

represented that “age is catching up with Baby Boomers,” and those still working often needed

accommodations for “’wear and tear’ disabilities like hearing and vision impairment [sic] that older

people routinely develop.”20 IBM also accused Baby Boomer employees of being less likely to admit

mistakes at work, less likely to collaborate in decision making, less likely to understand IBM’s business

strategy, less likely to understand their manager’s expectations, less likely to understand what customers

wanted, and less likely to understand IBM’s brand.21 In 2016, IBM’s Marketing Manager, Erika Riehle,

reiterated IBM’s belief in the stereotype that Baby Boomer employees are less collaborative, less

committed, less accountable, and less attentive to results.22




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
17 https://www.youtube.com/watch?v=fgc4aJ-JMJg&app=desktop at 4:22
18 Ex. 6a
19 Ex. 7
20 Id.
21 Id.
22 Id. at Langley-IBM 295-298




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                                                            In contrast—just as one of many examples—IBM’s sentiments about young people are captured

perfectly by Alan Wild, a high level HR executive, during an interview in which he articulates the value

of millennial employees to businesses:

                                                            I think the big difference is Millennials today are born on the – born on the web, they’re
                                                            digital citizens, and they live socially…so when you bring new people into the
                                                            organization, they don’t come in to train for five years before they add value. They start
                                                            to add value immediately…The difference is they’re much more valuable to
                                                            organizations today.23

In response to one millennial intern’s efforts to upgrade a PowerPoint slide, IBM top HR executive Diane

Gherson offered up the stereotype that, “[i]t’s break-through thinking like this that you wouldn’t have

gotten prior to this generation.”24 IBM’s scheme to transform its workforce was built on these very same

stereotypes about age.

                                                            b. Early Professional Hire – Defined

                                                            Understanding and defining IBM’s term of art, “Early Professional Hire,” a.k.a. “EPH,” is key to

understanding the mechanics of its fire-and-hire overall scheme. IBM internal documents make it clear

that the term is used to mean persons with traits that can very easily be correlated with age as a matter of

common sense even without the age demographic information IBM has refused to produce in discovery.

For instance, IBM classifies Early Professional Hires as persons who obtained their degree within the past

three years25, persons …with little to no experience.”26

                                                            While IBM’s definitions of EPH leave some wiggle room to be able to argue that older persons

could technically be classified as Early Professional Hires in some cases, the reality on the ground is

different. One high-level IBM executive, IBM’s Chief Human Resources Officer, Diane Gherson,

testified that Early Professional hires are definitely generally younger persons,27 that the majority of Early

Professional Hires are under 40 years old,28 and that IBM is aware that there is a correlation between

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
23 Ex. 8 at p. 3; Ex.5, Alan Wild Dep. Tr. at 148:21-22
24 Ex. 9
25 Ex. 10 at IBML-3349, 3248
26 Id. at IBML-3348
27 Ex 11, Gherson Dep. Dep. Tr.at 86:20-24.
28 Id. at 88:16-20.




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higher band levels and older age.29 With those EPH metrics in mind, IBM set out to design its hire-and-

fire scheme in a way meant to achieve its desired result.

                                                            c. IBM’s Discriminatory Scheme - Explained

                                                            Discussing IBM’s current talent recruitment problems, Wild emphasized in his aforementioned

video interview that, “when people look at IBM, we’re blue and we’re 100 years old. So it’s a question of

in the eyes of people coming to join the organization, how do we show IBM as a different place to the one

they have in their mind?”30 As Wild testified during his deposition, IBM determined that one way to show

Millennials that IBM was not “an old fuddy duddy organization” was to make itself appear “as [a] cool,

trendy organization” like Google and Amazon.	  31 “To do that, IBM set out to slough off large portions of

its older workforce using rolling layoffs over the course of several years.32

                                                            As one of the main prongs of its scheme, IBM issued headcount targets in a manner that

deliberately targeted older workers. For instance, IBM’s layoffs focused on specifically culling

employees in higher band levels—with the quiet understanding that employees with higher band levels

are almost assuredly going to be older workers.33 High-level IBM internal planning documents used

coded language that not-so-subtly referred to IBM’s fire-and-hire discrimination scheme. The coded

language used included but was not limited to “Early Professional Hire,” “seniority mix,” “skills remix,”

“seniority remix,” “reinvent,” “next generation,” “refresh,” “revitalization hiring,” “reinvention of the

workforce,” and “transformation.” 34 Set headcount targets were created based on how many “Early

Professional Hires” were desired in the respective divisions.35 The rolling layoffs were cited as a means to

make room for—and free up money to hire—the young, Early Professional Hires IBM so values.36

Specifically, they were utilized in Langley’s Hybrid Cloud group, and even more specifically his


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
29 Id. at 144:17-19
30 Ex. 8 at p. 2
31 Ex. 5, Alan Wild Dep. Tr. At 144:16-17
32 Id. at 5:6-11
33 Ex. 11
34 Ex. 4 at IBML-2568, 2563, 2447, 2559, 2452, 3243, 3096
35 See generally Id. at IBML-2367, 2368, 2449, 2454, 3091, 3094, 2500, 2501, 2505
36 Ex. 4 at IBML-2439.




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position—sales. IBM also took steps to ensure that its younger employees would not be collateral damage

of the layoffs and would instead remain within the company. IBM flat out exempted Early Professional

Hires from being considered for its rolling layoffs.37 IBM’s documents prove that it is aware that Early

Professional Hires—and thus most of its young workforce—work almost exclusively within job bands 6

& 7.38 Consequently—as an added layer of protection against losing young workers as collateral

damage—IBM likewise exempted bands 6 & 7 from its rolling layoffs, as well.39

                                                            IBM’s plan contained multiple other moving parts, as well, some of which were designed to

effectuate the scheme while others were meant to make it easier to cover up. IBM HR switched IBM over

to “Checkpoint,” which is a much more subjective employee performance review process that—as

discussed below—is easily and readily manipulated by IBM’s HR Partners to obtain the company’s

desired layoff results.40 Once an employee was selected for a layoff (referred to by IBM as a “Resource

Action” or “RA”) and notified about it, IBM applied positively draconian requirements to make being

rehired internally nigh impossible, which both Alan Wild and Plaintiff’s HR expert have stated under oath

is a practice extremely outside of the norm for HR business standards.41

                                                            IBM also compartmentalized its layoff actions into several smaller, artificial layoff populations in

an attempt to—as IBM has done here—limit discovery so that the forest cannot be seen for the trees.

                                                            C. The CLDR is a Fiction IBM is Using to Hide Discovery.

                                                            IBM has repeatedly attempted to limit discovery based on the “CLDR” and refused Langley

discovery beyond its artificial population. Suspiciously, not a single deponent to date has ever heard of

“CLDR.”42 In fact, no “CLDR” document even appeared until the month it was carried out. Any attempt




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
37 Ex. 9A at IBML-321; Ex. 10 at IBML-3347
38 Ex. 10 at IBML-3250; Ex. 12, LeBlanc Dep. Tr. at 160:8-11
39 Ex. 4 at IBML-2555
40 Ex. 13, Ladah Dep. Tr. at 229:18-131:5;
41 Ex. 14
42 Ex. 14b, CLDR




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by Mr. Langley to inquire about the “CLDR” population has been conveniently objected to on the basis of

privilege and legal work product.43

                                                            IBM’s production shows that internal planning documents and employees using the documents

refer to Langley’s resource action as Baccarat and not “CLDR.”44 The obvious deduction is that IBM’s

legal department cherry-picked employees from Baccarat to create smaller artificial groups that, when

analyzed, reduced the obviousness of the disparate effect of Operation Baccarat as a whole. This

suspicion is reinforced by IBM’s own production, where an IBM HR Partner mentions that the Resource

Action names are needed by a deadline, so that HR can go into “cleanup mode” and so that these names

can be “locked down” by legal.45 As best Plaintiff can tell, IBM succeeded in “locking down” these

names, as the CLDR is in no way representative of the IBM population as a whole, 46 or even

representative of all the employees that had been selected for the Resource Action within Brown’s group

of employees.47 The Judge’s Order specifically stated discovery is “not constrained by artificial borders

created within a corporation.” IBM has defied Judge Austin’s January 30, 2019 Order (Dkt No. 52) by

refusing to produce witnesses or responsive documents outside the “CLDR.”

                                                                                                                                                                                                                                                         II. SUMMARY JUDGMENT STANDARD

                                                            Summary judgment is only appropriate “when the pleadings, depositions, answers to

interrogatories, and admissions on file, together with affidavits…show that there is no genuine issue as to

any material fact.”48 When ruling on a motion for summary judgment, the Court must view “all inferences

drawn from the factual record in the light most favorable to the nonmoving party.”49 As long as there is

some support for the disputed allegations such that “reasonable minds could differ as to the import of the

evidence,” then IBM’s motion for summary judgment must be denied.50


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
43 Ex. 5, Alan Wild Dep. Tr. at 159:15-161:3.
44 Ex. 15 at IBML-2734
45Ex. 16 at IBML 3171
46 Ex. 15
47 Ex. 17
48 FED. R. CIV. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 323-25 (1986).
49 Matsushita Elec. Indus. Co. v. Zenith Radio, 475 U.S. 574, 587 (1986).
50 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).




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                                                                                                                                                                                                                                                         III. ARGUMENTS AND AUTHORITIES

                                                            Under the ADEA, a plaintiff may prove a claim of disparate treatment with either direct or

circumstantial evidence. 51 Courts across the nation have recognized that “employers are rarely so

cooperative as to include a notation in the personnel file, ‘fired due to age,’ or to inform a dismissed

employee candidly that he is too old for the job.”52 Accordingly, the Supreme Court developed the

McDonnell Douglas framework, which is used to establish age discrimination via circumstantial

evidence.

                              Under McDonnell Douglas, the plaintiff must first establish a prima facie case of discrimination.53

Second, “the employer must then respond with a legitimate, nondiscriminatory reason for its decision.”54

Third, to establish pretext under the circumstances of a reduction in force, Langley must “raise a genuine

issue of material fact as to whether [IBM’s] proffered reason was not the true reason, but was merely

pretext for discrimination.”55 In its motion, IBM first asserts that Plaintiff Langley cannot state a prima

facie case—despite IBM being caught red-handed with patently ageist high-level planning documents.

IBM’s argument strains credulity. Langley has more than made a prima facie case.

                                                            A. Prima Facie Case

                                                            IBM misstates Langley’s burden to make out his prima facie case. In a reduction in force case, a

Plaintiff may make out their prima facie by satisfying three prongs.56 First, the Plaintiff must demonstrate

that they are within the protected group and that they have been adversely affected by the employer’s

decisions. 57 This prong is assuredly uncontested. Mr. Langley was over 40 when IBM decided to


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
51 See Woodhouse v. Magnolia Hosp., 92 F.3d 248, 252 n. 3 (5th Cir.1996); (See also Bauer v. Albermarle Corp.,
169 F.3d 962, 966 (5th Cir.1999).
52 Thornbrough v. Columbus & Greenville R. Co., 760 F.2d 633, 638 (5th Cir. 1985), abrogated by St. Mary's Honor

Ctr. v. Hicks, 509 U.S. 502 (1993) (overruled on other grounds in St. Mary’s Honor Center v. Hicks, 509 U.S. 502).
53 See Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 142 (2000) (see also McDonnell Douglas Corp.

v. Green, 411 U.S. 792, 793 (1973)).
54 Russell v. McKinney Hosp. Venture, 235 F.3d 219, 222 (5th Cir. 2000).
55 Jones v. R.G. Barry Corporation, 2017 WL 10495666 at *7 (W.D. Tex. 2017), citing inter alia Reeves v.

Sanderson Plumbing Products, Inc., 530 U.S. 133, 142–43, 120 S.Ct. 2097, 147 L.Ed.2d 105 (2000).
56 See Thornbrough, 760 F.2d at 633; see also Amburgey v. Corhart Refractories Corp., Inc., 936 F.2d 805, 812 (5th

Cir. 1991).
57 See id.




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terminate his decades long employment.58 Second, the Plaintiff must demonstrate he was qualified to

assume another position at the time of the adverse employment action.59 Third, the Plaintiff must produce

‘evidence, circumstantial or direct, from which a factfinder might reasonably conclude that the employer

intends to discriminate in reaching the decision at issue.’60 In a reduction in force case, the Fifth Circuit

has held that this third prong may be satisfied merely by showing “that the defendant regarded age as a

negative factor in such [a] consideration.”61

                                                            Previous Fifth Circuit decisions have articulated that “the necessary elements of a prima facie

employment discrimination case are not Platonic forms, pure and unchanging; rather, they vary depending

on the facts of a particular case.”62 Here, under the facts of this particular case, Langley has more than

satisfied his burden under the second and third prong of the prima facie test.



                                                            B. The conduct of Langley’s managers established he was qualified for another position –

                                                                                          satisfying the second prong.

                                                            Langley was qualified for another job at the time he was terminated, because the documents are

replete with references to managers that wanted to hire Langley.63 Furthermore, Langley had just been a

member of the Tiger Team, which was comprised of individuals selected by high level management for

their deep technical skills.64 The evidence also reveals that Overbay believed Langley was qualified for

other jobs, because there are numerous documents that show Overbay was attempting to get Langley

another job at IBM.65 There are also several managers that attempted to hire Langley.66 In fact, evidence

reveals that a team in North America wanted Langley so badly that it transferred another employee to a



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
58 Ex. A, Jonathan Langley Affidavit
59 Amburgey, 936 F.2d at 812.
60 Id.
61 Id.
62 Thornbrough, 760 F.2d at 641.
63 Ex. 1, IBML-3308, 256, 1621A.
64 Ex. 12, LeBlanc Dep. Tr. at19:16-20 & 22-23; See also Ex. A, Jonathan Langley Affidavit.
65 Ex. 1, 1621A; 1524.
66 Id. at 1621A; 256; 3308; 255.




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new role to make room for Langley. 67 However, Allison Fisher—Brown’s “HR Partner”—blocked

Langley’s transfer multiple times and in multiple communications.68

                                                            Despite the difficulties of the process, Overbay tried to go around the HR red tape. But once

again, her efforts were blocked by a “Senior” HR Partner.69 The amorphous and frustrating process

caused Overbay to state “we are not making this easy”70 and “this process seems to change and become

more difficult.”71

                                                                 The documents show Brown also attempted to place Langley in another role within IBM.72

Brown offered advice to Overbay designed to help Langley get his transfer.73 Even after HR blocked

Langley’s transfer, Brown remained in contact with Overbay and recommended a name to Overbay as a

possible placement opportunity for Langley.74 In Brown’s own words he “pushed for [Langley]” in a

number of roles” at IBM.75

                                                            Overbay’s final attempt to place Langley internally was stymied by Barbara Heathcote—an HR

Partner. In her response, Heathcoate outlined the draconian requirements needed for an internal transfer

for a new position.76 This transfer required approval from the senior vice presidents and CFOs for the

units sending and receiving the request.77 This shows high level management getting involved with the

determination of whether Langley could remain employed at IBM.78 It is worth noting that Heathcote

advised Overbay that this is a secret process, that Langley should not be told, and that HR would not meet

with the Langley to discuss this process.79



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
67 Id. at 1621A; 1487 – 1489.
68 Ex. 1 at 1507 and 1621A.
69 Ex. 1, at 1509
70 Ex. 1 1621A; 1507.
71 Ex. 1 at 1505 – 1509.
72 Ex 1 at 1517.
73 Ex. 1 at 1487.
74 Ex. 1 at 1512
75 Ex. 1 at 1517
76 Ex. 1 at 1524.
77 Ex. 14; Ex. 24
78 Id.
79 Ex. 1 at 1524




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                                                            These substantial efforts on the part of Overbay and Brown—blocked by “HR Partners”—drive

home three points. First, the so-called “relevant decision makers” that IBM identified in its Motion for

Summary Judgment, thought that Langley was qualified for other jobs at IBM.80 Second, it shows that

IBM’s Human Resources Department contained the real decision makers. Finally, it shows that when an

employee was selected for elimination as part of a reduction in force, IBM’s HR staff actively blocked

efforts to allow the employee to remain employed.

                                                            C. The real IBM decisionmakers regarded age negatively.

                                                                                                                         a. Overbay and Brown were not the real decisionmakers.



                                                            As asserted supra, Langley knew that he was going to be terminated in early December.

However, the evidence shows that Overbay—in contrast to her Jones Day drafted affidavit—actually

knew that Langley was going to be terminated in the previous month of January. This is clearly

demonstrated by an instant message between Overbay and Brown’s HR Partner, Allison Fisher. How is it

demonstrated? Because Mrs. Fisher tells Overbay that Langley has already been selected, and that

Langley cannot be transferred because “Andrew [Brown is] counting him as reduction.”81 This clearly

means that IBM had selected Langley for termination long before Overbay’s affidavit claims she used

“IBM’s staff reduction methodology” to identify Langley for termination.82

                                                            What the evidence actually shows is Langley was preselected by HR, the very entity that created

the fire-and-hire scheme referenced supra. High-level HR documents identify Langley as an “RA” by

January 25, 2017—long before Overbay claims she first made the determination to terminate Langley.83

However, the connections between the fire-and-hire scheme, IBM’s HR department, and the decision to

terminate Langley do not stop there.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
80 See supra.
81 Ex. 18 at 1621A
82 Ex. 19, Overbay affidavit at 4.
83 Ex. 19




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                                                            On January 18, 2017, the evidence shows that Mr. Kubicki—a leader in the talent unit which also

reports to the head of HR—sent out an email to several “HR Partners”—including Allison Thompson,

who was Brown’s “HR Partner.”84 This email is a smoking gun for Langley’s case. Within that email,

Kubicki discusses the Resource Action that includes Langley’s unit, and he encourages all of these HR

Partners to think of this specific resource action as “[a]n opportunity to remix our headcount, freeing-

up space for new / better talent.”85 The email includes an attachment where HR literally identifies

individuals for layoffs. Kubicki directly quotes an ageist HR plan (discussed supra) that states the

individuals do not have the “necessary performance, potential, behaviors or skills,” 86 and that Human

Resources should “take a hard look at this ‘manage out’87 list to infuse the pending resource action with

additional exits.”88 This is direct evidence that the real decisionmakers were HR, and that HR viewed age

negatively.

                                                                                                                         b. IBM’s argument that Langley fails his prima facie case is meritless

                                                            IBM argues that Langley cannot make out his prima facie case of age discrimination because

Langley cannot prove that IBM “regarded age as a negative factor” in its decision to terminate Langley.89

Langley has directly refuted this assertion supra because he has proven that Brown and Overbay are not

the relevant decisionmakers, distinguishing himself from IBM’s cited case law. Langley’s case is a clear

scenario that calls for the “cat’s paw” analysis, as outlined by Judge Posner in Shager v. Upjohn Co.90

Under the “cat’s paw” theory, a court will not “blindly accept the titular decisionmaker as the true

decisionmaker.”91

                                                            The Fifth Circuit, and many other Circuits have “echoed the idea underlying Judge Posner’s cat’s

paw analysis and have held that “a defendant may be held liable if the manager who discharged the


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
84 Ex. 20
85 Ex. 20 at 3866 (emphasis added).
86 Id.
87 Id.
88 Id.
89 See Amburgey, 936 F.2d at
90 See Shager v. Upjohn Co., 913 F.2d 398, 405 (7th Cir.1990).
91 Russell, 235 F.3d 219, 227 (5th Cir. 2000).




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plaintiff merely acted as a rubber stamp . . .”92 Furthermore, the Fifth Circuit, in Russell, recognized the

validity of this theory, and that this “decisionmaker rule” was never intended to be applied

formalistically.93 Accordingly, the Fifth Circuit “look[s] to who actually made the decision or caused the

decision to be made, not simply to who officially made the decision.”94 IBM’s arguments should be

dismissed out of hand.

                                                            D. IBM’s affidavits present a thinly veiled pretext for discrimination.

                                                            IBM’s weakly supported cover story for the discrimination perpetrated against Langley is just

that—a cover story. IBM has represented to this Court that Langley was selected for layoff (1) based on

subjective evaluations of his first-line manager, and (2) because the products being sold as part of IBM’s

PureApp were supposedly being phased out. Neither of these narratives are supported by the documents

produced by IBM. Rather, the documents show (1) the decision to select Langley for layoff was actually

made months before Overbay supposedly first chose Langley to be laid off, and (2) IBM PureApp

products are still alive and well under a different name, despite IBM’s deceitful attempts to hide that fact

in discovery. In reality, his selection for layoff was rooted in a discriminatory scheme designed to

target divisions with older workers, aggressively hire new young employees simultaneously, and

make it nearly impossible for older IBM employees targeted for layoff to transfer or be rehired

internally—the fire and hire scheme.

                                                                 To establish pretext under these circumstances, Langley must “raise a genuine issue of material

fact as to whether [IBM’s] proffered reason”—that Langley was organically selected for a reduction in

force layoff (1) by a low-level manager and (2) the failure of the PureApp division—“was not the true

reason, but was merely pretext for discrimination.”95 The evidence presented to prove pretext “must allow

a reasonable jury to find that the proffered reason is ‘false or unworthy of credence,’ and that the true



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
92 Id. (citing Kendrick v. Penske Transp. Servs., Inc., 220 F.3d 1220, 1231 (10th Cir.2000).
93 See Russell, 235 F.3d at 227 (citing Griffin v. Washington Convention Ctr., 142 F.3d 1308, 1312.
94 Id.
95 Jones v. R.G. Barry Corporation, 2017 WL 10495666 at *7 (W.D. Tex. 2017), citing inter alia Reeves v.

Sanderson Plumbing Products, Inc., 530 U.S. 133, 142–43, 120 S.Ct. 2097, 147 L.Ed.2d 105 (2000).


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reason is discrimination.”96 When the evidence is viewed altogether, there is no question that reasonable

minds could determine that IBM’s cover story is exactly that—a cover story.97

                                                            E. IBM asserts it first selected Langley layoff in February 2017—its documents show
                                                               otherwise.

                                                            The notion that Overbay—and IBM as a whole—first selected Langley for a reduction in force

layoff on February 16, 2017 is squarely contradicted by IBM’s own evidence. Brown’s declaration states

that his direct reports—in this case Overbay—are the persons responsible for choosing employees

selected for layoff. Overbay swore in her declaration that she did not know that a layoff was going to

happen until February 2017. She also swore she did not select Langley for layoff until February 2017. As

discussed supra, the evidence shows otherwise. Brown told Langley two months before the proffered

selection date that he was going to lose his job in the near future.98 One month before the proffered

selection date, Langley’s name appeared on an HR planning document wherein he was designated for

layoff.99 Later that same month—but still before IBM says Langley was first selected for layoff—an IBM

HR partner represented in a chat log that Langley had already been counted as a reduction.100 Either

Brown and the HR Partners are magically prescient, or Langley had already been selected for layoff

before the date IBM says it occurred, and by a different person, no less.	  101 The contradictory narratives

about Langley’s termination create a genuine issue of material fact that only a jury should decide.102

Summary judgment should be denied accordingly.



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
96 Jones v. R.G. Barry Corporation, 2017 WL 10495666 at *2 (W.D. Tex. 2017), citing Vaughn v. Woodforest Bank,
665 F.3d 632, 637 (5th Cir. 2011); Laxton v. Gap Inc., 333 F.3d 572, 579 (5th Cir. 2003).
97 See Burton v. Teleflex Inc., 707 F.3d 417, 427 (3d Cir. 2013)(holding that if the plaintiff can discredit the

employer’s proffered non-discriminatory reasons, he or she does not need to produce additional evidence beyond the
prima facie case in order to survive summary judgment); See also Reeves v. Sanderson Plumbing Prods., Inc., 530
U.S. 133, 147-48, 120 S.Ct. 2097, 2108 (2000)
98 Ex. 1
99 Ex. 21
100 Ex. 18
101 See Jones v. R.G. Barry Corporation, 2017 WL 10495666 at *2 (W.D. Tex. 2017), citing Fed. R. Civ. P. 56(c)

(holding that inferences are to be drawn in favor of the nonmovant).
102 See Abramson v. Wm. Patterson College of N.J., 260 F.3d 265, 284 (3d. Cir. 2001) (holding that inconsistent

information about the circumstances of the employee’s termination creates a fact issue about the employer’s
proffered non-discriminatory reason that precludes summary judgment).


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                                                            F. IBM”s intentionally onerous transfer process rebuts IBM’s representation that low-
                                                               level managers were the actual decision makers.

Langley established supra that IBM intentionally placed hurdles in the path of IBM managers attempting

to internally place individuals selected for layoff. If—by a stroke of luck—a low-level IBM manager

could get a job posting actually approved for internal hires, IBM created even more hurdles to make

success near impossible for older workers to stay in IBM. A hiring review board comprised of extremely

high-level executives made up of Sam Ladah—IBM’s talent director for all of IBM and the head of

Hybrid Cloud HR; Stephen Lasher—Hybrid Cloud’s CFO; and Robert LeBlanc—Hybrid Cloud’s Senior

Vice President, was put in place as a second intentionally draconian barrier intended to block individuals

like Langley, who were slated for a resource action, from being rehired within IBM.103 Having executives

of this caliber convene to decide the fate of individuals can only be explained as a means to take the

power to retain IBM employees out of the hands of first line decisionmakers. Alan Wild, IBM’s layoff

guru, was shocked upon hearing during his deposition that such a process had been instituted by IBM.104

In an effort to mitigate this glaring abnormality, IBM represented to the Court that nine employees

selected for the resource action were rehired. It conveniently withheld the fact that five of those

employees were under circumstances specifically exempting them from review by the high-level

executive board—the very mechanism put in place to ensure these employees would not find another job

within IBM.105 In other words, only 44% of the already small number of IBM transfers IBM holds up as

proof actually were subjected to the purposefully draconian hurdles discussed herein.

                                                            G. Manipulation of ultimate layoff selection at IBM is seemingly rampant.

In January of 2017, Overbay gave Langley the grade of “Achieves” across the board in every category of

his performance review.106 Overbay emailed a copy of the performance review to Brown.107 Brown

responded to Overbay with an email arguing that her performance review ratings were too high and all

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
103 Ex. 14, Ex. 24
104 Ex. 5
105 Ex. 14, Ex. 24
106 Ex. 22 at IBML-001251
107 Ex. 22 at IBML-001249-001250




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but instructed Overbay to reduce the review grades to “Expects More.”108 In response, Overbay sent an

email that actually defended Langley’s business unit’s performance by mentioning that any business goals

not achieved can be explained in part because IBM had gutted Langley’s business unit in the year prior.109

Nevertheless, Overbay kowtowed to Brown’s de facto directive to artificially downgrade Langley’s

performance review score by retroactively changing his “Skills” and “Business Results” scores down to

“Expects More.”110 To put it differently, the retroactive reduction directed by Brown amounted to

reducing Langley’s performance review grades in 40% of the possible categories.111

                                                            As additional proof of manipulation, the same internal document identifying Langley for a

resource action on January 25, 2017 lists Langley’s peer, B.B., as also classified as RA.112 A subsequent

email exchange between Overbay and her HR Partner, Jerry Jackson, establishes that Jackson told

Overbay how to manipulate two employees’ respective performance review grades in order to ensure that

another employee, M.A. was selected for layoff instead of B.B.113 In fact, in a demonstrative exhibit,

Langley has highlighted all of the changes Overbay made to Exhibit C to her declaration at the direction

of HR.114 In Long, the Fifth Circuit held that a fact issue was created for pretext where a supervisor

downgraded the Plaintiff’s performance rating.115 In Kirkland, the Second Circuit overturned an

employer’s summary judgment and held that a plaintiff’s affidavit swearing that a manager falsified

documents related to the plaintiff’s performance reviews was evidence of pretext.116 Here, Plaintiff offers

the Court far more than just a sworn affidavit: Overbay—at other’s direction—manipulated performance

review grades for Langley and two of his fellow employees, which is three of the four employees in the



	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
108Id.  at IMBL-001249
109 Id. at IBML 1248.
110 Id. IBML-001251
111 Id. IBML-001251
112 Ex. 27
113 Id.
114 Ex. 19
115 Long v. Eastfield College, 88 F.3d 300, 305 (5th Cir. 1996)
116 Kirkland v. Cablevision Systems, 760 F.3d 223, 226 (2d Cir. 2014). See also White v. Baxter Health Corp., 533

F.3d 381 (6th Cir. 2008)(denying summary judgment and holding that the plaintiff’s downgraded performance
evaluation constituted an adverse employment action because it resulted in less compensation).


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entire business unit. Because IBM’s proffered cover story is unworthy of credence from this Court,

summary judgment should be denied accordingly.

                                                            H. IBM’s other proffered reason—that IBM PureApp failed—is likewise a blatant

                                                                                          manipulation of the truth.

                                                            IBM represented to this Court that PureApp—Langley’s business unit formally known as IBM

PureApplication—failed and was consequently “curtailed” by IBM, which is meant to serve as a non-

discriminatory excuse for IBM to have conducted a reduction in force and layoff of Langley.117 Steve

Cowley, the General Manager of Cloud Sales Sub-Unit & WW Top Organization, explained what IBM’s

self-serving declarants likely meant when using the word “curtailed” when he testified that IBM no longer

even sells PureApp products whatsoever.118 In other words, PureApp must have failed so fantastically

that it no longer even exists, at least if how IBM has portrayed PureApp to Plaintiff in discovery and to

this Court up to this point is true. IBM has a habit of changing the names of is divisions, business units,

and job titles on a regular basis. When Cowley was asked whether perhaps PureApp products were now

being sold under a different name, he responded in the negative.119 Unfortunately for IBM’s cover

story—and in contrast to the sworn testimony of its high-level executive—IBM PureApp is actually alive

and well under the name IBM “Cloud Pak,” creating an obvious fact issue for the purposes of this motion

and beyond.

                                                            Corporate documents from June 2019 make an announcement literally titled “IBM Cloud Pak

System (or PureApplication System) [. . .]”120 Another IBM publication references the fact that Cloud

Pak can be operated on Pure App Systems, and lists the part numbers for all of the Cloud Pak products.121

Therein, IBM references 318 Cloud Pak products that are actually PureApp products.122 On IBM’s

website under product videos, when one clicks on a link titled “What are Cloud Pak Systems,” the user is

	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
117 See e.g. LeBlanc dec. pg. 3.
118 Ex. 26, Cowley depo, pg.181:15-25; 182:1.
119 Id. at Cowley depo, pg. 183:16-19.
120 Ex. 23
121 Id.
122 Id.




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directed to a video describing PureApp titled “What are IBM PureApplication Systems.”123 The renaming

and rebranding of PureApp products to now simply being called Cloud Pak raises a fact issue about

whether or not IBM’s proffered cover story is worthy of credence from this Court. In Smith v. City of

Jackson Miss, the Court held that the defendants’ failure to “comply with their discovery obligations such

that the plaintiffs were prohibited from presenting their best case to the district court, summary judgment

in favor of the defendants improperly denied the plaintiffs an opportunity to continue discovery and

supplement the record."124

                                                            IBM’s concealment of Cloud Pak being simply a renamed PureApp raises questions about why

IBM never disclosed the identities and demographic information of persons hired to do the same

functions for Cloud Pak that Langley performed for PureApp in discovery; questions as to why IBM

executive Steve Cowley also vehemently denied under oath that Cloud Pak is a revised version of

PureApp before this most recent announcement,125 and whether or not under these circumstances any

court could rule in IBM’s favor given IBM’s most recent iteration of hide-the-ball discovery. Summary

judgment should be denied accordingly.

                                                            I.                            Langley can use testimony of Daniel Kuang and Rhoma Young to Prove Pretext.

                                                                                                                         a. Daniel Kuang’s Testimony is Probative of Pretext

                                                            IBM attacks the general probative value of statistics in a pretext determination and Dr. Kuang’s

statistical methodology in hopes of drawing this Court’s attention away from Dr. Kuang’s main

conclusion – the population of the CLDR is highly suspect. The CLDR contains anomalies that cause him

to suspect bias in the grouping of these individuals by IBM.126 Suspiciously, the makeup of this group

varies significantly from IBM’s general population.127 Dr. Kuang established the average age of the




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
123 Id.
124 Smith v. City of Jackson, Miss., 351 F.3d 183, 198 (5th Cir. 2003), aff'd on other grounds, 544 U.S. 228, 125 S.
Ct. 1536, 161 L. Ed. 2d 410 (2005).
125 Ex. 26 Cowley depo. Pg. 256:25; 257:1-8.
126 See D. Kuang 7/12/19 Supp. Rep. at 10-12, 16-21.
127Id.




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CLDR is over 50.128 While IBM has refused to provide the average age of its workforce, publicly

available information indicates the average age is 38.129 The age variance between the CLDR and IBM as

a whole is evidence the population is engineered.130 He additionally determined the population of the

CLDR includes outliers and “sliced and diced” information that skews meaningful analysis.131 These

factors, as well as other outlined in his Reports, 132 are evidence of the intentional acts by IBM to conceal

the true discriminatory nature of the Resource Action affecting Langley.

                                                            Statistical evidence of IBM’s discriminatory RIF, the “CLDR,” is one of many pieces of evidence

offered by Langley to prove pretext. Statistical evidence is probative of pretext when coupled with other

evidence contradicting an employer’s non-discriminatory reasons for terminating an employee.133 Courts

routinely find statistical evidence probative of pretext.134 The probative value of statistical evidence

depends on “all the surrounding facts, circumstances, and other evidence of discrimination.” 135

Throughout this response to IBM’s Motion, Langley presents a multitude of evidence contradicting

IBM’s assertion that Langley’s termination resulted from a financially motivated Resource Action. The


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
128 Id.
129 Id.
130 Id.
131Id. at 7.
132 In further support of the sufficiency of Dr. Kuang’s opinions to rebut IBM’s purported reasons for his

   termination, Langley incorporates Dr. Kuang’s Supplemental Report and his Response to IBM’s Motion to
   Exclude Dr. Kuang (Dkt. No. 138) by reference herein for all purposes.
133 Deloach v. Delchamps, Inc., 897 F.2d 815, 820 (5th Cir. 1990), holding modified by Smith v. The Berry Co., 198

   F.3d 150 (5th Cir. 1999); see also Walther v. Lone Star Gas Co., 977 F.2d 161, 152 (5th Cir. 1992) (“[G]ross
   statistical disparities resulting from a reduction in force or similar evidence may be probative of discriminatory
   intent, motive or purpose”).
134 See e.g. Tanner v. McCall, 625 F.2d 1183, 1192-93 n. 16 (5th Cir. 1980) (statistics can be used to show that

   defendant’s asserted reasons for decision were a pretext); Smith v. World Wide Tech., Inc., No. A-08-CA-60-SS,
   2009 WL 10699654, at *5 (W.D. Tex. Feb. 20, 2009) (finding statistical disparities may be probative of an
   employer’s pretext in an individual discrimination case if they show a pattern of discrimination where certain
   conditions are met to ensure reliability of statistical data); Freeman v. Package Mach. Co., 865 F.2d 1331, 1342
   (1st Cir. 1988) (statistical evidence of a pattern of discrimination based on age combined with conflicting
   evidence of employee’s job performance sufficient evidenced of pretext); Pers. v. J. S. Alberici Const. Co., 640
   F.2d 916, 919 (8th Cir. 1981) (statistics can be used to show discriminatory motive); Denison v. Swaco
   Geolograph Co., 941 F.2d 1416, 1424 (10th Cir. 1991) (statistical evidence is admissible to prove that an
   employer’s proffered reason for terminating an employee is purely pretextual); Brown v. Am. Honda Motor Co.,
   939 F.2d 946, 952 (11th Cir. 1991) (“statistical evidence is an appropriate method for demonstrating both a prima
   facie case of discrimination and pretext”).
135 E.E.O.C. v. Texas Instruments Inc., 100 F.3d 1173, 1185 (5th Cir. 1996), (citing) Int’l. Bd. of Teamsters v. U.S.,

   431 U.S. 324, 340 (1977).


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statistical evidence proffered by Dr. Kuang colors and informs Langley’s overwhelming evidence of

IBM’s discriminatory intent.

                                                            Contrary to IBM’s contention, Dr. Kuang did not “cherry pick” data. Rather, in an attempt to

address the concerns outlined above, he did not include analyses based on data that was obviously

unreliable.136 Instead, he focused on reliable data. His concern—which is justified—is analysis of flawed

data will yield flawed results.137 Dr. Kuang sought to prevent this Court from being misled by IBM’s

egregious attempts to use statistical outliers to skew and bias its data. IBM relies primarily on EEOC. v.

Tex. Instruments, which is easily distinguishable from the facts of Langley’s case and does not establish a

wholesale exclusion of statistical evidence to prove pretext.138 In Tex. Instruments, the expert arbitrarily

presented evidence of a statistically significant relationship between age and layoff for a subgroup of

employees over 50, while omitting analysis reaching contrary conclusions for other subgroups of

employees over 40.139 This case is not analogous because the Tex. Instruments expert did not have a

legally justifiable rationale for his analysis of a particular subgroup at the exclusion of others.140 Here, Dr.

Kuang assessed the credibility of IBM’s data for each job Band and group included in the “CLDR,”

before proffering any statistical expert opinions. 141 Dr. Kuang found IBM’s data was deliberately

designed to be confusing, with “Job Group” being the most suspicious data field.142 Dr. Kuang notes that

IBM deceptively chose to create the populations of the “CLDR” by “(1) disaggregated similarly situated

and analyzable jobs, (2) created disparately situated job groups, and (3) employed unstructured circular

job group methodology.” 143 Kuang chose to analyze the data by “Band” because the data field,

specifically Band 10, had a reasonable sample size and quality being the only data field IBM produced


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
136 See D. Kuang 7/12/19 Supp. Rep. at 16 – 20 (“Drawing conclusions from unreliable data can lead to incorrect
   conclusions that scientists refer to as “false negative” – improperly concluding that there is no significant effect,
   when in reality the effect exists . . . In the present matter, the data, especially for Bands 7, 8, and 9, falls short”).
137 Id.
138 E.E.O.C. v. Texas Instruments Inc., 100 F.3d 1173, 1185-86 (5th Cir. 1996)
139Id.
140Id.
141 See D. Kuang 7/12/19 Supp. Rep. at 16 – 20
142 Id. at 28
143 Id.




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that had any indicia of reliability.144 His credibility analysis of Band data revealed the only reliable

statistical evidence produced by IBM was from Band 10, Mr. Langley’s employment Band.145 During his

deposition and in his Supplemental Report, Dr. Kuang goes to great lengths to explain why certain

subgroups were eliminated from his analysis. Indeed, despite the engineered nature of the CLDR

population data, Dr. Kuang still found that termination decisions in Band 10—Langley’s job band—were

statistically related to age.146 In his Supplemental Report Dr. Kuang analyzed the entire CLDR data set,

while controlling for job differences, which IBM fails to mention, and still found that age was statistically

significantly related to age. 147 It should be emphasized that Dr. Kuang analyzed all age-related

information for the CLDR produced by IBM. Plaintiff cannot be faulted for gaps in IBM’s data when

it possesses the information necessary to close those gaps and refuses to provide it to Langley. Any

insinuation that Dr. Kuang’s opinions are unreliable due to “cherry picking” is an admission by IBM that

the employment data it produced is incomplete, misleading, and designed to deliberately obstruct

Plaintiff, Plaintiff’s expert, and this Court. If anything, IBM’s argument only supports Plaintiff’s

argument that IBM should be compelled to produce employment data for Operation Baccarat—the true

population of IBM’s rolling layoffs that resulted in the termination of Langley.

                                                                                                                         b. Rhoma Young’s Testimony is Probative of Pretext.

                                                            As this Court has held, Langley may establish pretext and carry his ultimate burden to prove

intentional age discrimination with evidence that IBM engaged in a pattern or practice of age

discrimination.148 It is thus readily apparent that IBM’s misrepresentation of Fifth Circuit case law


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
144 Id. at 14-15, 25, 29.
145 Id.
146 Id. at 19 – 21, 28 – 29.
147 Id. at. 28
148 Shiyan Jiang v. Texas Comm'n on Envtl. Quality, No. 1:17-CV-739-RP, 2018 WL 8415878, at *1 (W.D. Tex.

   Sept. 20, 2018) (“It is clear . . . that pattern-or-practice evidence can be relevant [in an individual discrimination
   case] to the pretext inquiry of the McDonnell Douglas framework provided the other employees are similarly
   situated to the plaintiff”); see also Wyvill v. United Companies Life Ins. Co., 212 F.3d 296, 302 (5th Cir. 2000)
   (discussing admissibility of pattern-or-practice evidence in a McDonnell Douglas discrimination case); Smith v.
   World Wide Tech., Inc., No. A-08-CA-60-SS, 2009 WL 10699654, at *5 (W.D. Tex. Feb. 20, 2009) (finding
   statistical disparities may be probative of an employer’s pretext in an individual discrimination case if they show a
   pattern of discrimination where certain conditions are met to ensure reliability of statistical data); Lewis v. City of


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regarding the admissibility of pattern or practice evidence in a McDonnell Douglas case is a deceptive

attempt to exclude portions of Rhoma Young’s testimony.

                                                            IBM continues its deceptive misrepresentations by mischaracterizing Rhoma Young’s testimony

as it relates to Langley, and by minimizing the many ways IBM failed to follow acceptable HR industry

standards. 149 Contrary to IBM’s contention, Young’s testimony directly addresses the effect IBM’s

discriminatory layoff procedures had on Langley and his peers.150 Further, Young does not have a “lone

quibble” with IBM’s discriminatory layoff procedures.151 Young’s many “quibbles” extend far beyond

IBM’s failure to provide Langley with Older Workers Benefit Protection Act (“OWBPA”) disclosures.

                                                            Young concluded IBM failed to utilize transparent, open, and honest layoff procedures when

implementing layoff actions affecting Langley.152 IBM purposefully limited laid off employee access to

outplacement assistance by making eligibility for such assistance contingent on signing a severance and

arbitration agreement.153 This agreement waived certain legal rights, like the right to a jury trial—

including a class action suit—and the right to OWBP disclosures.154 Ms. Young further opined that IBM

obscured its layoff procedures by segregating and dividing its layoff actions into many smaller layoff

actions—like the “CLDR”—without any discernable proper purpose or benefit.155 IBM’s opaque and

deceptive layoff procedures clearly do not conform to HR industry standards and practices.

                                                            Ms. Young also concluded that IBM failed to clearly define the job or skill criteria it used for

selecting persons to include in its Resource Action, like the CLDR.156 By not clearly defining selection

criteria and basing its layoff decisions on employee Band level, IBM failed to follow accepted HR




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
   Shreveport, No. CV 16-1115, 2018 WL 752362, at *4, n. 5 (W.D. La. Feb. 7, 2018) (finding pattern or practice
   evidence available to a plaintiff to demonstrate pretext in a McDonnell Douglas case).
149See Dkt. No. Pl.’s MSJ at 19-20.
150Langley incorporates Rhoma Young’s Expert Report and Supplemental Declaration herein for all purposes.
151 Pl.’s MSJ at 19
152 Declaration of Rhoma Young at 5-6.
153 Id.
154 Id.
155 Id. at 6.
156 Id.




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industry standards for implementing layoffs.157 Suspiciously, rather than basing Langley’s termination on

an assessment of his skills, the decision to terminate Langley was pre-determined before his skills were

even assessed by his manager. Further, Ms. Young has seldom ever seen a company use a reduction in

forces to address or remedy employee skills, problems, or deficiencies.158 Unlike most companies, IBM

used pure layoffs in lieu of performance management and accountability programs.159 Contrary to HR

industry standards, IBM employees were not given the opportunity to prove that they possess desired

skills or provided an opportunity to learn such skills.160

                                                            Ms. Young also found it outside of the HR norm that IBM created obstacles to make it nearly

impossible for employees selected for layoffs to transfer within IBM.161 In Ms. Young’s experience,

companies normally desire to retain their employees and encourage employee transfer within a

company.162 Further, despite IBM’s cries that Langley’s Resource Action was financially motivated, it

has been hiring new employees in large numbers while simultaneously laying off thousands of IBM

employees—fire-and-hire scheme. 163 Ms. Young finds this practice highly unusual and not in

conformance with accepted HR standards and procedures.164 Thus, IBM’s assertion that Ms. Young has a

“lone quibble” regarding IBM’s violation of HR industry standards is patently false and a

misrepresentation of Young’s expert opinions.

                                                            J. IBM’s company culture and pattern of age discrimination is probative evidence.

                                                            The company culture of—and discriminatory statements made by—IBM during the midst of the

creation and implementation of its age discrimination scheme are pieces of legally probative evidence of

discrimination. In Brewer, the Third Circuit considered the admissibility of evidence of company

newsletter statements from two years before the plaintiff was terminated where the Company praised two


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
157 Id.
158 Declaration of Rhoma Young at 7.
159 Id.
160 Id.
161 Id. at 8.
162 Id.
163 Id. at 8-9.
164 Id.




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young workers and stated, “[t]hat age group is our future.”165 The Court held that such evidence is valid,

admissible evidence that may be used to build a circumstantial case of discrimination.166 The Court went

on to say:

                                                            “When a major company executive’s comments prove to be disadvantageous to a
                                                            company’s subsequent litigation posture, it cannot compartmentalize this executive as if
                                                            he had nothing more to do with company policy than the janitor or watchman.”167

                                                            IBM cannot be allowed to compartmentalize the clear age animus and planning contained in its

own high-level internal documents and pretend it had no nexus to Langley’s layoff. IBM cannot be

allowed to compartmentalize the discriminatory statements made by its own executives and publications

that set the tone for IBM’s discriminatory culture. IBM cannot be allowed to compartmentalize the clear

evidence of HR manipulation in what is supposed to be a layoff scheme decided only by first-line

managers based on an employee’s respective merits alone. Accordingly, summary judgment must be

denied.


                                                                                                                                                                                                                                                         PRAYER FOR RELIEF

                                                            WHEREFORE PREMISES CONSIDERED Plaintiff respectfully requests that the Court deny

Defendant IBM’s Motion for Summary Judgment and for all other relief for which he may be justly

entitled.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  
165 Brewer v. Quaker State Oil Refining Corp., 72 F.3d 326, 333 (3rd Cir. 1995)
166 Id.
167 See Brewer v. Quaker State Oil Refining Corp., 72 F.3d 326, 333 (3rd Cir. 1995), citing Lockhart v. Westinghouse

Credit Corp., 879 F.2d 43, 54 (3d Cir.1989).	  


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                                             Respectfully submitted,




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 30, 2019, I electronically filed the foregoing RESPONSE TO

IBM’S MOTION FOR SUMMARY JUDGMENT with the Clerk of Court using the CM/ECF

system, which sent notification of such filing to the Court and Defendant’s counsel.




                                                     ___________________________________
                                                     Heidi A. Coughlin




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